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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

In Re Pharmaceutical Industry
Average Wholesale Price Litigation


This Document Relates To:                        MDL No. 1456
GOVERNMENT EMPLOYEES HOSPITAL
ASSOCIATION, individually and on behalf          C.A. No. 05-cv-11935 (PBS)
of all others similarly situated,

              Plaintiff

v.

SERONO INTERNATIONAL, S.A.,
SERONO LABORATORIES, INC.,
SERONO, INC., RJL SYSTEMS, INC., AND
RUDOLPH J. LIEDTKE,

              Defendants.



         FIRST AMENDED CLASS ACTION COMPLAINT AGAINST
SERONO INTERNATIONAL, S.A., SERONO LABORATORIES, INC., SERONO, INC.,
             RJL SYSTEMS, INC., AND RUDOLPH J. LIEDTKE
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            I.              NATURE OF THE ACTION

            1.      This is a proposed national class action brought on behalf of consumers

and third-party payors (self-insured employers, Taft-Hartley funds, non-profit and for-profit

heath insurers, all of whom bear the ultimate risk for prescription drug expense) against

Serono International, S.A., Serono, Inc., Serono Laboratories, Inc. (collectively “Serono”),

RJL System, Inc. (“RJL”), and Rudoph J. Liedtke (“Liedtke”) seeking damages and other

monetary relief by reason of the Defendants’ deceptive and illegal marketing, sales, and

promotional activities for the prescription drug Serostim.

            2.      In 1996, Serono obtained accelerated approval from the U.S. Food and

Drug Administration (“FDA”) for Serostim for the sole purpose of treating AIDS wasting. At

the time, AIDS wasting was the leading cause of death among AIDS patients. But just as

Serono was bringing Serostim to market, other drug companies were bringing to market a new

class of drugs known as protease inhibitors that dramatically improved treatment of AIDS.

These drugs, when used in various combinations commonly known as an “AIDS cocktail,”

dramatically curtailed the replication of the HIV virus in HIV infected individuals. As a result

of the discovery of this new treatment, the prevalence of HIV conversion to AIDS and

associated conditions, including AIDS wasting, diminished and the cases in which Serostim

treatment was medically necessary radically declined.

            3.      Faced with faltering demand for a drug that had become marginalized by

new and superior therapies, Serono embarked on a campaign of criminal deceit, manipulation,

kickbacks and fraud to prop up the flagging market for Serostim.

            4.      Serono did not accomplish these deceptions on its own. Not only did

Serono itself engage in acts of deceit, but it also contracted with medical device marketing

firm RJL and its principal Liedtke to provide unapproved and unproven medical devices and

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software, and to develop fraudulent and misleading tests, that would fabricate data to support

prescription of Serostim where no medical necessity existed. It also contracted with

consultants to communicate its fraudulent representations to physicians, payors, and the

public. Serono also paid inducements to physicians, including lavish all-expense paid trips to

Cannes, France, in exchange for agreements by those physicians to prescribe Serostim, and

paid pharmacies to provide lists of physicians who were likely to prescribe Serostim and for

other unlawful purposes. Thus, Serono associated itself with discrete, identifiable medical

device makers, consultants, and others unknown to effectuate its deceptive and illegal

marketing and promotional campaign to urge the prescription of Serostim based on

unapproved diagnostic procedures in circumstances in which no proven medical necessity for

the treatment existed.

            5.      From September 1996 through at least January 2002, Serono and RJL

engaged in illegal conduct whose sole purpose was unlawfully to promote, market and sell

Serostim in circumstances where the prescription of Serostim was not supported by proof of

medical necessity. These schemes included:

            6.      Medical Device Activities. Promoting the use of unapproved, adulterated

and unproven medical devices and computer software marketed by RJL and Liedtke to

physicians which purported to calculate body cell mass wasting to fraudulently create a

medical basis for prescription of Serostim; distributing these medical devices and computer

software to physicians for the sole purpose of increasing the demand for Serostim; and

training, authorizing and encouraging sales representatives to administer the purported body

cell mass wasting tests to AIDS victims to fraudulently promote the sale of Serostim.




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            7.      Physician Kickback Activities. Paying illegal inducements and kickbacks

to physicians to induce them to prescribe Serostim. In particular, from March 1999 through

December 1999, in an attempt to reverse the severe shortfall in sales of Serostim, offering

physicians in exchange for writing up to 30 new prescriptions of Serostim a lavish all-

expenses paid trip to a medical conference in Cannes, France. The sales strategy was part of a

Serono marketing campaign referred to as the “$6m-6 Day Plan.” Because each prescription

encompassed a 12-week course of therapy that cost $21,000, the value of 30 prescriptions to

be written by each doctor was $630,000. The Serono marketing department announced within

the company that 10 physicians were “U.S. Invitees” to the Cannes conference with all

expenses paid for them and their guest to attend. The 30 prescriptions each doctor was

expected to write meant a total value of approximately $6.3 million in sales. Illegal

inducements also included payment of stipends and honoraria for fictitious speaking

engagements and facilitating billing by physicians to third-party payors for fraudulent body

cell mass wasting tests that the physicians themselves did not perform.

            8.      Over Prescribing Activities. Fraudulently encouraging physicians to

prescribe dosages of Serostim that the patients did not need or could not consume.

            9.      Off-label Marketing Activities. Marketing Serostim to physicians for the

treatment of lipodystrophy, a separate condition involving weight gain in the mid-section and

weight loss in the extremities, different from AIDS wasting, for which Serostim was not

approved by the FDA.

            10.     Through these activities and others, Serono knowingly caused consumers

and third-party payors to pay for Serostim treatments that were not proven to be medically

necessary or were not provided at all.



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              11.    On October 17, 2005 the United States Attorney for the District of

Massachusetts Michael J. Sullivan announced that after a four-year investigation, Serono had

would plead guilty to federal criminal and would pay civil restitution to settle civil charges for

engaging in widespread fraudulent drug promotion and pervasive false and misleading

marketing activities that resulted in false and fraudulent claims being submitted to federal and

state third-party payor Medicaid. The settlement included the following elements:

              12.    Guilty Plea to Criminal Conspiracy. Serono Laboratories, Inc. would

plead guilty to two counts of criminal conspiracy, to promote the use of adulterated medical

devices with intent to defraud, and to offer and pay illegal remuneration. Serono Laboratories,

Inc. would pay a criminal fine in the amount of $136.9 million. As a result of the criminal

conviction, Serono Laboratories, Inc. also would be excluded from participating in any federal

health care programs for a period of at least five years.

              13.    Corporate Integrity Agreement. Serono, Inc. and all other U.S.

subsidiaries of Serono, S.A. would be subject to a stringent Corporate Integrity Agreement for

five years.

              14.    Restitution to the United States. Serono would pay $305 million, plus

interest, to the United States in civil damages for losses suffered by the federal portion of the

Medicaid program and other federal health care programs as a result of fraudulent drug

promotion and marketing misconduct attributed for purposes of the plea bargain and

settlement to Serono Laboratories, Inc.

              15.    Restitution to the States. Serono would pay a total of $262 million, plus

interest, to settle its civil liabilities to the 50 states and the District of Columbia for losses

suffered by the state Medicaid programs.



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            16.     In all, Serono was required to pay $704 million to state and federal

officials in response to criminal and civil charges resulting from its illegal promotion of

Serostim.

            17.     In April 2005, RJL and its President, Rudolph J. Liedtke, pleaded guilty to

their roles in the conspiracy and are waiting sentencing.

            18.     In addition, on December 21, 2004, Adam Stupak, a Serono sales director,

pleaded guilty to three counts of offering to pay illegal remuneration by offering doctors free

trips to Cannes, France if they committed to write 30 prescriptions for Serostim in one week.

            19.     In addition, on April 15, 2005, four former executives of Serono were

indicted on charges of offering bribes to doctors to prescribe Serostim. The indictments

included charges of criminal conspiracy. The four people named in the indictment were John

Bruens, marketing vice president; Mary Stewart, vice president of sales; Melissa Vaughn,

regional sales director; and Marc Sirockman, regional sales director.

            20.     In announcing the criminal pleas and civil settlement, United States

Attorney Sullivan stated that nearly 85 percent of prescriptions written for Serostim were not

medically necessary. He also stated that the medical testing procedure concocted by Serono,

RJL and Liedtke was “almost voodoolike,” and that he suspected that some of the patients

may also have suffered side effects as a result of taking the AIDS drug.

            21.     Serono’s unlawful marketing and kickback activities resulted not only in

fraud on the federal and state governments, but also in unnecessary payments by consumers

and third-party payors. In addition, as stated by the Unites States Attorney for the District of

Massachusetts, these activities may also have resulted in personal injury to AIDS victims




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treated with Serostim. This First Amended Class Action Complaint seeks to address the

economic harm suffered by consumers and third-party payors.

            22.     Count I alleges a violation of the Racketeering Influence and Corrupt

Organizations Act (“RICO”), 18 U.S.C. § 1961(c). Serono associated itself with a discrete

and identifiable medical device marketing firm and its principal (hereinafter the “Serostim

Medical Device Enterprise”), in order to form a RICO association-in-fact. Through the use of

this enterprise, Serono engaged in a pattern of racketeering activity including promoting,

distributing, and using adulterated, unapproved, and unproven medical devices and software

throughout the country, and at least multiple episodes of mail fraud and wire fraud, for the

purpose of conducting fraudulent body cell mass wasting tests in order to support the

medically unnecessary prescription and sale of Serostim. Consumers and third-party payors

were injured in their property by reason of these violations by, among other things, having to

pay hundreds of million of dollars for Serostim by reason of the unlawful conduct. Plaintiffs

seek certification of a nationwide class, and treble damages on behalf of that class.

            23.     Count II also alleges a violation of the Racketeering Influence and Corrupt

Organizations Act (“RICO”), 18 U.S.C. § 1961(c). Serono associated itself with discrete and

identifiable physicians (hereinafter the “Serostim Physician Kickback Enterprise”) in order to

form a RICO association-in-fact. Through the use of this enterprise Serono engaged in a

pattern of racketeering activity including offering and paying illegal remuneration and at least

multiple episodes of wire fraud, for the purpose of conducting fraudulent body cell mass

wasting tests in order to support the medically unnecessary prescription and sale of Serostim.

Consumers and third-party payors were injured in their property by reason of these violations

by, among other things, having unnecessarily to pay millions of dollars for Serostim by reason



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of the unlawful conduct. Plaintiffs seek certification of a nationwide class, and treble damages

on behalf of that class.

             24.     Count III alleges a conspiracy in violation of RICO under 18 U.S.C. §

1962(d). Serono and its co-conspirators engaged in numerous overt and predicate fraudulent

racketeering acts in furtherance of the conspiracy, and by reason of this conduct consumers

and third-party payors were injured in their property. Plaintiffs seek certification of a

nationwide class, and treble damages on behalf of that class.

             25.     Count IV alleges a violation of state consumer protection law. As a direct

result of Serono’s deceptive, unfair, unconscionable, and fraudulent conduct, consumers and

third-party payors were injured and suffered loss within the meaning of applicable and

consumer protection statutes. Plaintiff seeks certification of a nationwide class or groups of

classes and applicable damages on behalf of that class or classes.

             26.     Count V alleges common law fraud.

             27.     Count VI seeks relief in the nature of unjust enrichment. As a result of the

intended and expected result of the conscious deceitful and illegal acts engaged in by Serono,

Serono profited and benefited at the expense of the consumers and third-party payors in the

United States.

             28.     Finally, pursuant to Fed. R. Civ. P. 38, the First Amended Class Action

Complaint seeks a jury trial on all issues so triable.

             II.             PARTIES

             29.     Plaintiff Government Employees Hospital Association (“GEHA”) is the

third-largest national health insurance plan serving federal employees and retirees, as well as

their families. GEHA has over 232,000 health plan members and provides health insurance to

over 425,000 people across the United States and around the world. GEHA is a self-insured

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and not-for-profit association. GEHA has paid for prescriptions of pharmaceutical products

manufactured and marketed by Serono. GEHA is incorporated in the state of Missouri and its

corporate offices are located at 310 N.E. Mulberry, Lee’s Summit, Missouri 64056.

            30.     Defendant Serono International, S.A. is a Swiss global biotechnology

company with over 4,500 employees, and worldwide revenues in 2001 of $1.38 billion.

Serono International, S.A.’s registered office is located at Centre Industrial in 1267

Coinsins/VD, and its executive offices are located at 15bis, chernin des Mines, Case Postale

54, CH-1211 Geneva 20, Switzerland.

            31.     Serono Laboratories, Inc. is a U.S. subsidiary of Serono International,

S.A., organized under the laws of Massachusetts and both located and headquartered at One

Technology Place, Rockland, Massachusetts, 02370.

            32.     Defendant Serono, Inc. is a U.S. subsidiary of Serono International, S.A.,

organized under the laws of Massachusetts and both located and headquartered at One

Technology Place, Rockland, Massachusetts, 02370.

            33.     At all times material hereto, Serono acted by and through its duly

authorized agents, employees, and representatives who were acting within the course and

scope of their agency, employment and representation, all of whom were acting at the

direction of or with the consent, permission and authorization of Serono.

            34.     At all times material hereto, whenever this class action complaint refers to

any acts of Serono, the reference shall be deemed to mean that of the directors, officers,

employees, or agents of Serono authorized such acts while actively engaging in the

management, direction, or control of the affairs of Serono, and while acting within the scope

of their agency or employment.



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             35.     RJL Systems, Inc., later known as RJL Sciences, Inc., is a corporation

located in Clinton Township, Michigan, in the business of developing and marketing

bioelectrical resistance and reactance measurement devices and associated computer software.

             36.     Rudolph J. Liedtke was the president and principal owner of RJL Systems,

Inc.

             III.            JURISDICTION

             37.     This court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331,

because this action arises under the laws of the United States, and pursuant to 28 U.S.C. §

1964(c), because this action alleges violation of the Racketeer Influenced and Corrupt

Organizations Act (“RICO”), 18 U.S.C. § 1962.

             38.     Plaintiffs also invoke jurisdiction pursuant to 28 U.S.C. § 1332 (d)(2),

which provides federal district courts with original jurisdiction over civil actions in which the

matter in controversy exceeds the sum or value of $5,000,000, exclusive of interests and costs,

and is a class action in which “any member of a class of plaintiffs is a citizen of a state

different from any defendant.”

             39.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 (b)

and (c), and 18 U.S.C. § 1965(a), because one or more defendants transact business, are found,

or have agents in this District, and because a substantial portion of part or all of the alleged

improper conduct took place in this District. Serono, through its maintenance of its principal

place of business for its U.S. operations in this District and Serono, RJL and Liedtke, through

their marketing and sales of Serostim and related medical devices and software, have

transacted substantial business in this District.




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                 IV.            FACTS

A.        Introduction of Serostim

                 40.     Serono marketed and sold the drug Serostim, which is the proprietary

     name or trademark of the generic drug, “somatropin.” Somatropin is recombinant human

     growth hormone, consisting generally of growth hormone taken from a mammalian cell line

     and modified, using recombinant DNA technology, by adding the human growth hormone

     gene.

                 41.     Serono received accelerated approval from the FDA in August of 1996 for

     Serostim to treat AIDS wasting, also know as cachexia, a condition involving profound

     involuntary weight loss in AIDS patients, with a preferential loss of lean body mass over fat

     mass. At the time that the FDA approved Serostim, AIDS wasting was an AIDS defining

     condition that constituted the leading cause of death among AIDS patients.

                 42.     Serostim was an injectable drug that was prescribed on a per milligram

     basis and was dispensed in vials. The dose most commonly administered was 6mg per day.

     In August 1996, the FDA approved Serostim based upon a 12-week course of treatment,

     although many patients received Serostim for more than 12 weeks.

                 43.     Serostim was a very expensive drug. Serono set the average wholesale

     price (“AWP”) for Serostim at $42 per mg. At 6mg per day, a 12-week course of Serostim

     therapy cost approximately $21,168.

                 44.     Serostim came on the market concurrently with the advent of protease

     inhibitor drugs. These drugs, often referred to as Highly Active Anti-Retroviral Therapy, or

     HAART, dramatically curtailed, in the United States, the proliferation of the AIDS virus itself,

     particularly when used in combination with one another (commonly referred to as the “AIDS

     cocktail”). Given the decreased viral loads in HIV-positive patients taking these drugs, the

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     incidence and prevalence of the AIDS wasting syndrome began to markedly decline among

     AIDS patients. Consequently, the medical necessity for Serostim began to diminish following

     the drug’s launch. Serono knew or had reason to believe that decline in commercial demand

     for the drug would follow.

B.        Serono’s Campaign to Redefine AIDS Wasting

                  45.    Commencing in 1997, and continuing thereafter, in order to salvage what

     it had expected to be a highly profitable market, Serono launched a campaign to “redefine

     AIDS wasting.” Serono’s goal was to create a market for Serostim by expanding the disease

     state for which Serostim could be prescribed as a treatment. Serono trained its sales force to

     make sales presentations and disseminate literature stating wasting was being “masked” by

     weight gain in the post-HAART era and that patients were still experiencing AIDS wasting

     following the advent of HAART, despite an absence of weight loss.

                  46.    Serono also trained its sales and marketing employees to represent to

     physicians, patients, and others that “body cell mass” (“BCM”) was the most metabolically

     active component of the body and that patients who had lost BCM were wasting, even if they

     had lost no weight or had actually gained weight. Serono represented that estimates of body

     cell mass in humans could be made by using bioelectrical impedance analysis (“BIA”)

     medical devices in conjunction with certain software devices that purported to compute

     estimates of body cell mass. To “unmask” AIDS wasting, Serono, in concert with RJL,

     promoted the use of the BIA and accompanying computer software devices to measure body

     cell mass.

                  47.    During the clinical trials performed to obtain FDA approval for Serostim,

     the safety, efficacy, and necessity of Serostim were evaluated in test subjects who were

     diagnosed as suffering from AIDS wasting based upon changes in the amount of weight and

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lean body mass the subjects had experienced. Neither BCM testing nor BIA devices and

associated software were ever used as a diagnostic tool to identify AIDS patients for whom

Serostim therapy would be safe, effective, or necessary.

            48.        The BIA and software devices Serono used to promote sales of Serostim

were developed and marketed by RJL Systems, Inc., later known as RJL Sciences, Inc.

(hereinafter “RJL”), and Rudolph J. Liedtke (hereinafter “Liedtke”), the President and

principal owner of RJL. These medical devices and software were never scientifically tested

in conjunction with the diagnosis of AIDS wasting.

            49.       The BIA devices sold by RJL and Liedtke consisted of a portable device

with two protruding electrodes to be attached to the hand and foot of human test subjects.

Defendants represented that the BIA devices purported to measure the rate at which low levels

of electrical current would pass through the body. A microchip embedded in the BIA device

measured the degree to which the electrical current encountered “impedance” while passing

through the body and calculated “resistance” and “reactance” measurements. The resistance

and reactance measurements obtained by performing a BIA test reflected the degree to which

the subject’s body resisted the flow of the current and the extent to which the current was

stored in the body.

            50.       Defendants represented that the resistance and reactance measurements

generated by the BIA device were used to estimate the body composition of individual

humans. Estimate of body composition were computed by applying the resistance and

reactance measurements generated by the BIA device to predicative equations.

            51.       Defendants represented that predicative equations were developed by

mathematically calculating the statistical relationship between the resistance and reactance



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     measurements obtained and by performing BIA tests on a sample populations of human

     subjects and actual measurements of body compositions of humans varied depending on the

     characteristics and size of the sample population used to develop the equation and on the

     methodology used to measure the body composition within that population.

                 52.     Defendant Serono purchased and distributed, and caused to be purchased

     and distributed by others, the BIA medical devices and associated software developed and

     marketed by RJL and Liedtke. Serono also promoted the BIA medical devices and associated

     software for the purpose – unapproved by the FDA and scientifically unproven – of

     identifying AIDS victims whose purported non-weight losing AIDS wasting symptoms should

     be treated with Serostim.

C.        The Regulatory Framework for Approval of Medical Devices

                 53.     The BIA device was a medical device within the meaning of the Federal

     Food, Drug, and Cosmetic Act (“FDCA”), 21 U.S.C. § 321(h), in that the BIA device was an

     impendence plethysmograph used to estimate human body composition by estimating

     “peripheral blood flow by measuring electrical impedance changes in a region of the body

     such as the arms and legs” 21 C.F.R. § 870.2770.

                 54.     Each package of computer software used to convert the resistance and

     reactance measurements generated by the BIA device into estimates of body composition was

     also a medical device within the meaning of the FDCA in that it was a “component, part, or

     accessory” to BIA devices pursuant to 21 U.S.C. § 321(h).

                 55.     The Center for Devices and Radiological Health (“CDRH”) was the office

     within the FDA responsible for protecting the health and safety of the American public by

     ensuring, among other things, that medical devices designed for use in humans are safe and

     effective for their intended uses and are labeled accurately and in compliance with the law.

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             56.      The BIA and computer software devices could not be sold without first

obtaining premarket clearance and premarket approval from the FDA, depending on the

intended use of the devices. FDA could grant a 510(k) premarket clearance if it determined,

following review of the data submitted in support of the applicant’s premarket notification,

that a device was substantially equivalent to a device (known as a “predicate device”) that was

marketed in interstate commerce prior to May 28, 1976, the enactment date of the Medical

Device Amendments to the Food, Drug and Cosmetics Act (“FDCA”).

             57.      A device could only be found substantially equivalent to a predicate

device if, among other things, the intended use of the current device was the same as the

intended use of a predicate device. If the intended use of the device was different from the

intended use of a predicate device, substantial equivalence could not be found. Under such

circumstances, it was illegal for a manufacturer to market the device in interstate commerce

unless the FDA had first reviewed and approved a premarket application to market the device.

             58.      FDA categorized devices into three classes – Class I, Class II, and Class

III -- depending on the degree of regulation necessary to ensure the safety and effectiveness of

the devices for their intended uses. Devices that were first introduced into commercial

distribution after May 28, 1976, were presumed to be Class III devices by operation of law.

21 U.S.C. § 360c(f)(1). A Class III device, unless the subject of a 510(k) premarket clearance,

required premarket approval before it could be legally marketed in interstate commerce. 21

U.S.C. § 360e. Premarket approval review by the FDA generally entailed, among other

things, a review of clinical trials and scientific data offered to confirm the safety and efficacy

of the device as well as a review of the device’s labeling, which must include adequate

directions for use.



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            59.     On or about June 24, 1986, RJL and Liedtke submitted a 510(k) premarket

notification to FDA’s CDRH relating to a BIA device identified therein as “Body Comp

Analyzer” and a computer software device accompanying the device. In that 510(k)

submission and in ensuing correspondence with CDRH, RJL and Liedtke stated that the Body

Comp Analyzer and accompanying computer software had the same intended uses as those

identified in a 510(k) premarket notification that RJL had filed with CDRH in 1983 –

specifically, estimating total body water, lean body mass, and fat – and that the computer

software only performed calculations that previously would have been done by hand to

estimate body composition. RJL and Liedtke further represented that the predictive equations

in the computer software were based on a population consisting of 278 healthy and obese

college students whose body composition was measured through hydrostatic weighing. RJL

and Liedtke also stated that total body water measurements of the college students were

determined using deuterium oxide dilution. RJL and Liedtke represented to CDRH that the

intended uses of the BIA device and accompanying computer software did not include

measuring body cell mass or diagnosing any disease state.

            60.     Based on the representations made by RJL and Liedtke in their 510(k)

submission and related communications, CDRH concluded that the modified Body Comp

Analyzer and accompanying software were substantially equivalent to a device marketed prior

to the medical device amendments of 1976. On February 3, 1987, CDRH granted premarket

clearance to RJL to distribute the Body Comp Analyzer and the accompanying computer

software devices, referred to by CDRH as the “Modified Model BIA-103 Body Comp

Analyzer,” for the intended uses of estimating total body water, lean body mass, and fat in

healthy humans.



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D.        The Unapproved Development of Software Devices for Measuring Body Cell Mass

                 61.     Serono, RJL, Liedtke, and others known and unknown developed various

     versions of software for the BIA medical device purported to calculate, among other things,

     body cell mass, total body water, fat free mass, and intracellular and extracellular water. The

     various software packages were named “Fluid and Nutrition Analysis,” “Cyprus,”

     “SomaScan,” and “Cyprus 1.2 Condensed.” Each of these software packages, pursuant to 21

     U.S.C. § 351(f)(1)(B)(i), required FDA approval before they could be legally marketed for

     new and intended use of measuring body cell mass and/or diagnosing AIDS wasting based

     upon BIA resistance and reactance measurements. At no time did any individual or entity

     submit an application for premarket approval to the FDA with respect to any of these software

     packages, nor has FDA ever approved an application for premarket approval for any of the

     software packages under 21 U.S.C. § 360e.

                 1.      The FNA Software

                 62.     Commencing in at least 1994, RJL and Liedtke and others unknown

     developed a predicative equation that would purportedly calculate estimates of body cell mass

     using the BIA resistance and reactance readings. This predicative equation (herein after the

     “Z equation”) purported to estimate body cell mass based upon measurements of total body

     potassium in a population referred to herein as the “ABC database” that consisted of

     approximately 332 humans, including individuals who were healthy and others who had been

     tested as HIV-positive.

                 63.     Commencing sometime during 1994, RJL and Liedtke, and others

     unknown, developed new computer software for use in interpreting BIA test results as a tool

     for diagnosing AIDS wasting. The software incorporated the Z equation. RJL and Liedtke

     marketed the software under the name “Fluid and Nutrition Analysis,” (“FNA”). The FNA

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software purported to calculate an individual’s estimated body cell mass, total body water,

intracellular and extracellular water, fat free mass, extracellular tissue, and fat. The FNA

software also computed purported “normal” ranges for the individual’s total body water and

intracellular and extracellular water by comparing the individual’s BIA test results to that of a

select portion of the population included in the purported ABC database. The inclusion of the

Z equation and the database in the FNA software, and the use of the computer software to

purportedly measure body cell mass and as a tool for diagnosing AIDS wasting, were new

intended uses that required premarket approval from FDA before their introduction into

interstate commerce as a basis for diagnosing AIDS wasting and promotion of the

administration of Serostim as treatment.

            64.     In or about January, 1995, RJL and Liedtke met with representatives of

Serono and with others unknown concerning the use of BIA technology by Serono in the

promotion of Serostim.

            65.     Between September 1995 and June 1996, RJL shipped approximately 25

BIA devices together with FNA Version 3.1 software packages to Serono for use by Serono in

evaluating body composition in AIDS patients.

            2.      The Cyprus Software

            66.     The “Cyprus” software, developed for the BIA medical device

commencing in or about 1998, incorporated the Z equation for estimating body cell mass and

calculated purported measurements of body cell mass, fat, extracellular mass, fat free mass,

intracellular and extracellular water, and total body water. The Cyprus software further

computed purported normal ranges for each of these measurements for individuals by

comparing the individual’s test results to a select portion of database of humans derived from

the National Health and Nutrition Examination Survey (NHANES).

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            3.      The SomaScan Software

            67.     The “SomaScan” software, developed for the BIA device commencing in

or about August, 1999, incorporated the Z equation for estimating body cell mass and

calculated purported measurements of body cell mass, fat, extracellular mass, fat free mass,

intracellular and extracellular water, and total body water. The SomaScan software further

computed purported precise “ideal” amounts for each of these measurements for individual

test subjects by comparing the individual’s test results to a select portion of the NHANES

database and eliminating any standard deviation from the calculations. The SomaScan

software was not submitted to FDA for premarket approval and was not approved by FDA for

shipment in interstate commerce for the intended uses of measuring body cell mass or

diagnosing AIDS wasting. The inclusion of the Z equation, employing the NHANES database

as the population base for computing “ideal” body composition values in the SomaScan

software, and the use of the computer software to measure body cell mass and as a tool for

diagnosing AIDS wasting, were new intended uses, and required premarket approval from

FDA before their introduction into interstate commerce and use as a basis for diagnosis of

AIDS wasting and promotion of the administration of Serostim as treatment.

            4.      The Cyprus 1.2 Condensed Software

            68.     The “Cyprus 1.2 Condensed” software, developed for the BIA device in or

about February, 2000, incorporated the Z equation for estimating body cell mass and

calculated purported measurements of body cell mass, fat, extracellular mass, fat free mass,

intracellular and extracellular water, and total body water. The Cyprus 1.2 Condensed

software also computed purported “normal” amounts and “normal” ranges for these values for

each individual by comparing the individual test subject’s results to a select portion of the

NHANES database and including a standard deviation for these calculations. The inclusion of

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     the Z equation, employing the NHANES database as the population base for computing

     “normal” body composition values in the software, and the use of the computer software to

     measure body cell mass and as a tool for diagnosing AIDS wasting, were new intended uses,

     and required premarket approval from FDA before introduction into interstate commerce and

     use in the diagnosis of AIDS wasting and the promotion of administration of Serostim as

     treatment.

E.        Defendants’ Fraudulent Promotion of Serostim Through Use of the Unapproved
          and Unproven Medical Devices and Associated Software

                  69.    Commencing as early as September, 1996, and continuing thereafter,

     Serono, RJL, Liedtke, and others unknown, knowingly and willfully agreed to introduce and

     deliver for introduction into interstate commerce, with intent to defraud and mislead, BIA

     computer software for use in diagnosing AIDS wasting based upon BIA resistance and

     reactance measurements, knowing that these devices had not been approved for use

     diagnosing AIDS wasting and were therefore adulterated medical devices within the meaning

     of 21 U.S.C. § 351(f)(1)(B)(i). In engaging in this conduct, Serono, RJL, Liedtke, and others

     unknown formed the Medical Device Enterprise.

                  70.    The purpose of the Medical Device Enterprise was to introduce and

     deliver into interstate commerce with intent to defraud and mislead unapproved, adulterated

     and unproven medical devices in order to create a basis for the promotion and sale of Serostim

     prescriptions where no medical necessity for the drug existed. The purpose of the Medical

     Device Enterprise was also to increase the market and sales of BIA devices and software.

                  71.    Serono, RJL, Liedtke, and others unknown, did in fact participate in the

     development and dissemination of BIA computer software that purported to measure body cell

     mass for use in diagnosing AIDS wasting based upon a test subject’s purported loss of body


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cell mass. The disease state of AIDS wasting, however, consisted of profound involuntary

weight loss and loss of lean body mass in AIDS patients, not loss of body cell mass. Use of

BIA devices and computer software that purported to measure loss of body cell mass enabled

Serono and others unknown, including RJL and Liedtke, to “redefine” AIDS wasting market

for Serostim beyond the disease state for which the drug was approved and scientifically

proven to be necessary, and caused consumers and third-party payors to pay for Serostim

therapy that was medically unnecessary and potentially unsafe. It also provided a stimulus for

increased sales of the BIA devices and associated software.

            72.     As part of the Medical Device Enterprise, Serono also disseminated BIA

devices and related software in interstate commerce to its sales representatives to promote

sales of Serostim based on purported loss of body cell mass, even without evidence of weight

loss. This was done without first obtaining FDA approval for this use of the device with the

FNA software, or without proving its validity.

            73.     Serono, RJL, and Liedtke also developed and disseminated the

“SomaScan” software in interstate commerce to sales representatives of Serono and to others

unknown in order to promote the diagnosis of AIDS wasting as a disease state involving the

loss of body cell mass and to compute purported “ideal” levels of body cell mass and other

body composition parameters for individual BIA test subjects, all without first obtaining FDA

approval for these uses of the device with the SomaScan software or proving its medical

effectiveness or necessity. In doing so, Defendants and the Medical Device Enterprise sought

to create a purported basis for the prescribing and sale of Serostim for medically unnecessary

purposes and increase the prescribing and sale of Serostim.




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                 74.     Serono, RJL, and Liedtke also developed and disseminated the “Cyprus

     1.2 Condensed” software in interstate commerce to sales representatives of Serono and to

     others unknown in order to promote the diagnosis of AIDS wasting as a disease state

     involving the loss of body cell mass and to compute purported “normal” levels of body cell

     mass and other body composition parameters, all without first obtaining FDA approval for

     these uses of the device with the Cyprus 1.2 Condensed software or proving its medical

     effectiveness or necessity. In so doing, Defendants and the Medical Device Enterprise sought

     to increase the market potential for Serostim and to create a purported basis for prescribing

     and sale of Serostim for medically unnecessary purposes.

                 75.     Serono, RJL, and Liedtke also sought to provide a basis for Serono and

     others unknown to induce physicians to prescribe, and third-party payors to pay for, Serostim

     based upon misrepresentations and omissions of material facts. Serono misled physicians and

     third-party payors regarding the validity of BIA testing in diagnosing AIDS wasting and did

     not disclose that BIA software devices had not been approved by FDA or scientifically

     validated for the purposes of determining whether patients were experiencing purported

     changes in body cell mass or suffering from AIDS wasting.

                 76.     As a consequence of these material misrepresentations and omissions,

     Defendants individually and through the Medical Device Enterprise caused consumers and

     third-party payors to reimburse for Serostim prescriptions that would not have been written

     and for which the third-party payors would decline to have paid.

F.        Defendants’ Agreements and Actions to Implement Use of the Unapproved and
          Unproven Medical Devices to Support Fraudulent Bases for Serostim Prescriptions

                 77.     Beginning in 1996, Serono, RJL, Liedtke, and others unknown, embarked

     on a campaign to improperly promote and market BIA and associated computer software in


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